MINUTE ENTRY
FELDMAN, J.
JULY 14, 2021
JS10: 00:30

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                 CRIMINAL DOCKET

VERSUS                                                   NO. 18-118

WILLIAM MCGINNESS                                        SECTION "F"

                                 SENTENCING


COURTROOM DEPUTY: Cherie Stouder
COURT REPORTER:   Toni Tusa


APPEARANCES:       Mary Dee Carraway, Counsel for the Government
                   Robert S. Toale, Counsel for the Defendant
                   Tamika Jackson, U.S. Probation Officer
                   William McGinness, Defendant

Case called at 1:30 p.m.
All present and ready.
Defendant sentenced as to Counts 1 and 4 of the Indictment.
Statement by deft in mitigation of sentence.
Statement by counsel for defendant in mitigation of defendant’s sentence.
Statement by Sharon McGinness, defendant’s wife, in mitigation of sentence.
Government’s oral motion to dismiss Counts 2, 3 and 5 of the Indictment – GRANTED
See Judgment.
The defendant was released.
Court adjourned at 2:00 p.m.
